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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )
                                             )                    8:05CR282
      vs.                                    )
                                             )                      ORDER
WILLIAM F. SCHWENING,                        )
                                             )
                                             )
                    Defendant.

       This matter is before the court on defendant's unopposed MOTION [10] TO
CONTINUE PRETRIAL MOTION DEADLINE AND TRIAL DATE. For good cause shown, I find
that the motion should be granted. The defendant will be given the requested
approximate 30-day extension. Pretrial Motions shall be filed by October 31, 2005.

      IT IS ORDERED:

     1.     Defendant's UNOPPOSED MOTION [10] TO CONTINUE PRETRIAL MOTION
DEADLINE AND TRIAL DATE is granted. Pretrial motions shall be filed on or before
October 31, 2005.

      2.     A final trial date will be set by further order of the court.

       3.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between
September 30, 2005 and October 31, 2005, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel required additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).

      DATED this 23rd day of September, 2005.

                                           BY THE COURT:


                                           s/ F.A. Gossett
                                           United States Magistrate Judge
